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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

GEORGE LALOUDAKIS                             *

       Petitioner,                            *
                                                              Civil Action No.: RDB-16-1806
       v.                                     *               Criminal No.: RDB-09-0608

UNITED STATES OF AMERICA,                     *

       Respondent.                            *

*      *       *       *       *     *   *  *   *   *                        *       *       *
                                   MEMORANDUM ORDER

       Now pending before this Court are Petitioner’s Motion to Vacate Judgment under 28

U.S.C. § 2255. (ECF No. 326) and Motion to Supplement (ECF No. 338.) Petitioner seeks vacatur

of his 18 U.S.C. § 924(c) conviction. By agreement of counsel, the Motion to Vacate that

conviction and Motion to Supplement (ECF Nos. 326 & 338) are GRANTED.

       Pursuant to 18 U.S.C. § 924(c), an additional term of incarceration may be imposed upon

“any person who, during and in relation to any crime of violence…uses or carries a firearm, or

who, in furtherance of any such crime, possesses a firearm.” The “crime of violence” underlying

Ashley’s § 924(c) charge was conspiracy to tamper with a witness. (Judgment & Commitment

Order, ECF No. 41.) Counsel acknowledge that this offense no longer qualifies as a crime of

violence in light of the recent opinion of the United States Supreme Court in United States v. Davis,

139 S. Ct. 2319 (2019) and the opinion of the United States Court of Appeals for the Fourth Circuit

in United States v. Simms, 914 F.3d 229, 233 (4th Cir. 2019) (en banc).

       Accordingly, the Defendant Laloudakis is entitled to a resentencing in the criminal case,

United States v. Laloudakis, Criminal No. RDB-09-0608. Therefore, the Motion to Vacate (ECF

No. 326) and Motion to Supplement (ECF No. 338) are GRANTED and the civil case,
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Laloudakis v. United States, Civil No. RDB-16-1806, shall be CLOSED. Re-Sentencing shall

be scheduled by agreement of counsel at a date to be determined.

IT IS HEREBY SO ORDERED THIS 9TH DAY OF JULY, 2020.




                                                           /s/
                                                   Richard D. Bennett
                                                   United States District Judge




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